

Earl v Hill (2021 NY Slip Op 06948)





Earl v Hill


2021 NY Slip Op 06948


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Gische, J.P., Webber, Oing, Singh, Higgitt, JJ. 


Index No. 25979/18E Appeal No. 14850 Case No. 2020-02913 

[*1]Thomas Earl, Plaintiff-Respondent,
vRomar Hill, et al., Defendants-Appellants.


Traflet &amp; Fabian, New York (Stephen G. Traflet of counsel), for appellants.
Khavinson &amp; Associates, PC, New York (Paul Cordella of counsel), for respondent.



Order, Supreme Court, Bronx County (Mary Ann Brigantti, J.), entered on or about May 26, 2020, which granted plaintiff's motion for summary judgment as to liability, unanimously affirmed, without costs.
Plaintiff established defendants' negligence prima facie by showing that his vehicle was struck in the rear by defendants' vehicle when he stopped in an intersection, and in opposition, defendants failed to provide a nonnegligent explanation for the collision (see Francisco v Schoepfer, 30 AD3d 275 [1st Dept 2006]). Defendants contend that plaintiff's vehicle stopped abruptly for no apparent reason. However, drivers are expected to maintain a reasonable distance between their vehicles and vehicles ahead of them so as to avoid colliding with stopped vehicles (id.). Moreover,
defendant driver could not reasonably have anticipated an unimpeded flow of traffic at the intersection.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








